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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ROGELIO DIZON,


                    Plaintiff,
                                                     Case No. 18-cv-07175

         v.                                          Hon. Rebecca R. Pallmeyer

HC JOLIET, LLC

                    Defendant.


  DEFENDANT HC JOLIET, LLC’S MEMORANDUM OF LAW IN SUPPORT OF ITS
   MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO FEDERAL
            RULES OF CIVIL PROCEDURE 12(B)(5) AND 12(B)(6)

         Defendant HC Joliet, LLC (“Defendant”), by and through its attorneys, Seyfarth Shaw

LLP, respectfully submits the following Memorandum of Law in Support of its Motion to

Dismiss Pursuant to Federal Rules of Civil Procedure 12(b)(5) and 12(b)(6).

                                        INTRODUCTION

         On October 26, 2018, Plaintiff Rogelio Dizon filed his boilerplate pro se form Complaint

of Employment Discrimination (“Complaint”) which purports to assert a claim of national origin

discrimination pursuant to Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981 against

Defendant. (ECF No. 1). Plaintiff’s Complaint should be dismissed for two primary reasons: (1)

for vastly untimely service 7 months after the filing of the Complaint in flagrant violation of

Rule 4(m) pursuant to Rule 12(b)(5); and (2) for failure to state a claim pursuant to Rule 12(b)(6)

as the Complaint is completely void of any factual averments which support, and provide

Defendant with notice of, his claim.

         First, Plaintiff did not attempt to serve his Complaint on Defendant after the Complaint

was filed and, indeed, a summons was not issued until May 2019 pursuant to the Court’s Order,


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see ECF No. 15, and Defendant was not served with the Complaint until June 4, 2019 –

approximately 7 months after the Complaint was filed. Accordingly, Plaintiff’s Complaint is

subject to dismissal pursuant to Federal Rule of Civil Procedure 12(b)(5) for insufficient service

of process for violation of Rule 4(m) which provides that “[i]f a defendant is not served within

90 days after the complaint is filed, the Court--on motion or on its own--must dismiss the action

without prejudice against the defendant or order that service be made within a specified time.”

Fed. R. Civ. P. 4(m).

         Here, Plaintiff waited for approximately 7 months to even attempt to serve the Complaint

and there is no evidence that Plaintiff had good cause for such vastly untimely service.

Plaintiff’s untimely delay in serving the Complaint has and will prejudice Defendant’s defense of

the matter and result in the consequences that Rule 4(m) and the 90-day time period requirement

of Title VII were designed to prevent – delay in employment cases because of diminishing

recollections, and the availability of witnesses. Moreover, Seventh Circuit precedent is clear that

Plaintiff’s pro se status does not excuse Plaintiff’s failure to timely serve his Complaint.

Accordingly, the Court should dismiss Plaintiff’s Complaint pursuant to Rule 12(b)(5).

         Second, Plaintiff’s Complaint is completely void of any factual support for his claim and,

in fact, contains no factual averments at all. (See, e.g., Compl. ¶ 13) (in paragraph of form

Complaint Of Employment Discrimination requiring “facts supporting the plaintiff’s claim of

discrimination,” Plaintiff simply states “see additional page” although no factual allegations are

included in, or attached to, the Complaint). Rule 8 of the Federal Rules of Civil Procedure

requires far more than provided in Plaintiff’s Complaint. Even construing Plaintiff’s pro se

Complaint liberally, Plaintiff’s Complaint simply fails to state cognizable claim for relief and

does not provide Defendant with fair notice of Plaintiff’s claim or the grounds upon which it

rests.

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         Defendant should not be compelled to engage in a lengthy litigation process on the basis

of a Complaint which fails to meet the most basic pleading requirements under the Federal Rules

of Civil Procedure and does not place Defendant on notice of Plaintiff’s claim – particularly

where the Illinois Department of Human Rights and the United States Equal Opportunity

Commission have conclusively determined that there is no evidence to support Plaintiff’s

underlying charge. Accordingly, Plaintiff’s Complaint should also be dismissed for failure to

state a claim upon which relief can be granted pursuant to Rule 12(b)(6).

                         SUMMARY OF RELEVANT ALLEGATIONS

I.       Procedural History

         On October 26, 2018, Plaintiff filed his Complaint. (ECF No. 1). Plaintiff subsequently

filed a motion for attorney representation and an application for leave to proceed in forma

pauperis and a motion for attorney representation. (ECF Nos. 4-5). On October 30, 2019, the

Court denied Plaintiff’s motion for attorney representation, and granted his motion to proceed in

forma pauperis. (ECF No. 8). Plaintiff subsequently re-filed his Complaint on October 30,

2018. (ECF No. 10).

II.      Plaintiff’s Complaint

         Plaintiff’s Complaint purports to assert a claim against Defendant for national origin

discrimination pursuant to Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981.

(Compl. ¶ 9). However, Plaintiff’s Complaint also checks the following boxes regarding

Defendant’s alleged conduct: “(b) terminated the plaintiff’s employment,” “(e) failed to

reasonably accommodate the plaintiff’s disabilities,” and “(f) failed to stop harassment.” (Id. ¶

12). Furthermore, in the paragraph of Plaintiff’s Complaint requiring “facts supporting the

plaintiff’s claim of discrimination,” Plaintiff simply states “see additional page,” however no

such page is included in Plaintiff’s Complaint. (Id. ¶ 13).


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          Plaintiff’s Complaint also attaches: (1) a Charge of Discrimination filed with the Illinois

Department of Human Rights dated September 20, 2017 which purports to allege national origin

discrimination, (Id., Charge of Discrimination); (2) a Illinois Department of Human Rights

Investigation Report dated September 29, 2017 which concluded:

          There is no evidence of a nexus between the alleged incidents and Complainant’s
          national origin. There is no evidence of an animus based on national origin.
          There is no substantial evidence that Respondent discharged Complainant based
          on his national origin. Complainant has failed to establish a prima facie case of
          nation origin based discrimination.

(id., Investigation Report at 8); (3) a Notice of Dismissal for Lack of Substantial Evidence issued

by the Illinois Department of Human Rights dated February 6, 2018, which “determined that

there is NOT substantial evidence to support the allegations of the charge(s),” (id., State of

Illinois Department of Human Rights Notice of Dismissal For Lack of Substantial Evidence at

1); and (4) a Dismissal and Notice of Rights issued by the United States Equal Employment

Opportunity Commission dated August 9, 2018 which “adopted the finding of the state or local

fair employment practices agency that investigated this charge” and provided 90 days for

Plaintiff to file a lawsuit in federal or state court. (Id., U.S. Equal Opportunity Commission,

Dismissal and Notice of Rights at 1).

          Plaintiff’s Complaint purports to seek “[b]ack pay from the date discrimination occurred

to the date the harm suffered is redressed and for loss of fringe benefits.” (Id. ¶ 16.) Plaintiff

also seeks, “[i]f available. . . .appropriate injunctive relief, lost wages, liquidated/double

damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-

judgment interest, and costs, including reasonable attorney fees and expert witness fees.” (Id. ¶

16(f).)




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                                           ARGUMENT

III.     PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED FOR UNTIMELY
         SERVICE PURSUANT TO RULE 12(B)(5)

         A.     Legal Standard

         Rule 12(b)(5) provides for dismissal for “insufficient service of process.” Fed. R. Civ. P.

12(b)(5). Rule 4(m) states that “[i]f a defendant is not served within 90 days after the complaint

is filed, the court--on motion or on its own after notice to the plaintiff--must dismiss the action

without prejudice against that defendant or order that service be made within a specified time.

But if the plaintiff shows good cause for the failure, the court must extend the time for service

for an appropriate period.” Fed. R. Civ. P. 4(m). The fact that a defendant is ultimately served

outside the time period does not mean that the Court cannot dismiss the case. Levy v. Pappas,

2006 WL 1994554, at *4 (N.D. Ill. July 13, 2006), aff'd, 510 F.3d 755 (7th Cir. 2007) (citing

Geiger v. Allen, 850 F.2d 330, 332 (7th Cir. 1988) (interpreting former Rule 4(j), which was

subsequently replaced by Rule 4(m), and noting that “Rule 4(j) applies equally to defendants

who were never served and defendants who were served after the 120–day period had lapsed.

[Otherwise], the ability of a defendant to move for dismissal for failure to comply with Rule 4(j)

would be virtually meaningless, since many defendants will not be aware that an action is

pending until they are served.”)).

         B.     Plaintiff Has Not, And Cannot, Demonstrate “Good Cause” Requiring An
                Extension of Time For Service

         The Seventh Circuit has noted that “good cause” for purposes of Rule 4(m) means “a

valid reason for delay such as the defendant’s evading service.” Coleman v. Milwaukee Bd. of

Sch. Directors, 290 F.3d 932, 934 (7th Cir. 2002). At the very least, “some showing of

reasonable diligence is required before good cause is established.” Pearson v. Metz Baking Co.,




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1998 WL 312018, at *2–3 (N.D. Ill. 1998) (citing Scott v. Guarantee Reserve Life Ins. Co., 1998

WL 177954,*2 (N.D. Ill. 1998); Bachenski v. Malnati, 11 F.3d 1371, 1377 (7th Cir. 1993)).

         Here, Plaintiff has not and cannot demonstrate “good cause” for serving Defendant

approximately 7 months after the Complaint was filed, and approximately 4 months after the 90-

day time limit in Rule 4(m) lapsed. Indeed, to Defendant’s knowledge, Plaintiff never even

attempted to serve Defendant until the Court’s Order directing summons to issue on May 29,

2019. (See ECF No. 29). Accordingly, “good cause” simply does not exist which would require

the Court to extend Rule 4(m)’s time limits for service.

         C.     The Court Should Decline To Exercise Discretion To Excuse Plaintiff’s
                Vastly Untimely Service

         The Court may nonetheless, in its discretion, extend the time for service if there was no

good cause for missing the deadline. Coleman, 290 F.3d at 934 (“Thus there is justifiable delay

(‘good cause’), but there is excusable neglect as well, as grounds for extension. In the first case,

that of good cause, an extension is mandatory; in the second, that of excusable neglect, it is

permissive, and the judge must be affirmed provided he did not abuse his discretion.”) (citation

omitted)). The Seventh Circuit has clearly held that “the fact that the balance of hardships favors

the plaintiff does not require the district judge to excuse the plaintiff’s failure to serve the

complaint and summons within the [90] days provided by the rule.” Id. at 934.

         Here, Defendant did not receive actual notice of the Complaint within a short time after

filing. Rather, Defendant was only made aware of this action once served significantly after the

lapse of Rule 4(m)’s time period. Indeed, Plaintiff waited approximately 7 months to even

attempt to serve the Complaint following its filing. To Defendant’s knowledge, and based on the

Court’s docket, Plaintiff also never requested that the service deadline be extended, nor has the

Court granted such an extension. As a result, Plaintiff will be prejudiced in its defense of the



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case as a result of the delay in service. See, e.g., Scott, 1998 WL 177954,*2 (“The 90–day time

period required by Title VII indicates that Congress did not want any delays in employment

discrimination cases because ‘memories may fail in the workplace in recalling the minutia of

what was said and what was done.’ In addition, the statute of limitations period in employment

cases is short because back pay obligations aggregate quickly and it becomes more difficult to

reintegrate a terminated worker into the workforce with each day that passes before a dispute is

resolved.”) (quoting Sanders v. Venture Stores, Inc., 56 F.3d 771, 775 (7th Cir. 1995)).

         Further, Plaintiff’s pro se status does not excuse ignorance of the timing requirements

contained in Rule 4(m). See, e.g., Williams-Guice v. Bd. of Educ. of City of Chicago, 45 F.3d

161, 164 (7th Cir. 1995) (“Even uncounseled litigants must act within the time provided by

statutes and rules. ‘[W]e have never suggested that procedural rules in ordinary civil litigation

should be interpreted so as to excuse mistakes by those who proceed without counsel.’”)

(quoting McNeil v. United States, 113 S.Ct. 1980, 1984 (1993)); see also Pearson, 1998 WL

312018, at *2–3 (“Plaintiff’s pro se status is no excuse for her failure to abide by the Federal

Rules of Civil Procedure and in no way constitutes good cause for serving Defendant long after

the 120-day period expired.”); Scott, 1998 WL 177954, at *4 (“pro se plaintiffs are not exempt

from complying with Rule 4(m)”).

         Finally, while Plaintiff’s claim(s) may ultimately be time-barred if the Complaint is

dismissed, courts routinely dismiss complaints under such circumstances – particularly where,

like here, there is a considerable delay in service. See, e.g., Levy, 2006 WL 1994554, at *6 (“The

Court is also aware, as plaintiffs concede, that their claims against Crawley and Cook County

will be time-barred if the Court does not extend the deadline for serving defendants. . . . As is

stands, plaintiffs have no one but themselves to blame for their failure to serve these defendants

before the statute of limitations had run.”) (internal citation omitted); Coleman, 290 F.3d at 934

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(affirming district court’s dismissal for untimely service even where “dismissal without prejudice

has the effect of dismissal with prejudice because the statute of limitations has run. . . .” and the

district court did not overlook any factors for exercising discretion in favor of the plaintiff);

Scott, 1998 WL 177954, at *4 (declining to extend the time for service of pro se complaint

despite the fact that dismissal “will forever bar [plaintiff’s] claims” which did not “overcome the

prejudice that [defendant] had suffered because of the extensive delay in this case.”); McCullum

v. Silver Cross Hosp., 2001 WL 969076, at *4 (N.D. Ill. 2001) (dismissing complaint for

untimely service where claim would further be barred by statute of limitations noting that “this

case simply does not present the kind of reasons that would justify the Court’s leniency absent

good cause shown.”).

         Accordingly, Defendant respectfully requests that Plaintiff’s Complaint should be

dismissed where Plaintiff failed to even attempt service until approximately 7 months following

the filing of the Complaint, Plaintiff cannot establish good cause for this failure, and the

circumstances of the significant delay in service will prejudice Defendant.

IV.      PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED FOR FAILURE TO
         STATE A CLAIM

         A.     Legal Standard

          Rule 12(b)(6) requires dismissal where a complaint fails to allege sufficient facts “to

state a claim to relief that is plausible on its face” and presents nothing more than “threadbare

recitals of a cause of action’s elements, supported by mere conclusory statements.” Bell Atl.

Corp. v. Twombly, 550 U.S. 533, 557 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). “[T]he plausibility standard calls for a ‘context-specific’ inquiry that requires the court to

draw on its judicial experience and common sense” and requires the plaintiff to allege “specific

facts to support the legal claims asserted in the complaint.” McReynolds v. Merrill Lynch & Co.,

694 F.3d 873, 885 (7th Cir. 2012).
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         B.     Plaintiff Fails To State A Claim Upon Which Relief Can Be Granted

         While Defendant acknowledges that Plaintiff’s pro se Complaint should be liberally

construed, Plaintiff’s Complaint nonetheless fails to satisfy the notice-pleading standard which

requires that a complaint provide a “‘short and plain statement of the claim showing that the

pleader is entitled to relief,’ which is sufficient to provide the defendant with ‘fair notice’ of the

claim and its basis.” Bridges v. Gilbert, 557 F.3d 541, 545 (7th Cir. 2009) (quoting Erickson v.

Pardus, 551 U.S. 89 (2007) (per curiam) (citing Twombly, 550 U.S. 544; Fed. R. Civ. P. 8(a)(2)).

         Here, Plaintiff’s Complaint simply fails to rise to this level even when held to a less

stringent pro se pleading standard than formal pleadings drafted by attorneys. Not only does the

Complaint fail to provide Defendant with fair notice of his claim, it does not contain any factual

averments supporting his claim of discrimination. (See, e.g., Compl. ¶ 13).

         In light of the complete lack of factual averments in the Complaint, Defendant simply has

no notice of Plaintiff’s claim, and it would likely be impossible for Defendant to answer the

Complaint as drafted. Under such circumstances, dismissal is appropriate for failure to state a

claim. See, e.g., Carpenter v. All. Petroleum Co., 1997 WL 539659, at *2 (N.D. Ill. 1997)

(granting motion to dismiss pro se complaint where “[plaintiff’s] complaint is a two paragraph

narrative which does not contain any numbered paragraphs. While we realize that [plaintiff] is

proceeding pro se in this case, the Federal Rules apply to all litigants in this court and must be

followed by them.”); Wilson v. Civil Town of Clayton, Ind., 839 F.2d 375, 379 (7th Cir. 1988)

(upholding dismissal of pro se complaint and stating: “Similarly, despite the liberality with

which civil rights complaints are read, there is nothing in the plaintiff's allegations which

supports an equal protection claim.”); Lyles v. Fairman, No. 94 C 3494, 1995 WL 609317, at *3

(N.D. Ill. 1995) (“Even construing this pro se plaintiff's complaint liberally . . . . this court finds

no allegation or factual basis for deliberate indifference on the part of any of the defendant.”)

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(citations omitted); Tucker v. Bank One, N.A., 265 F. Supp. 2d 923, 925–26 (N.D. Ill. 2003)

(“Despite the broad notice pleading policy of the federal rules, even a pro se complaint must

provide enough information to enable the defendants to respond in their own defense. . . .

[Defendant] cannot be expected to defend itself against allegations as vague as these.”)

         Moreover, Plaintiff’s Complaint checks form boxes regarding Defendant’s alleged

actions which are arguably inconsistent with the claim he purports to be asserting, which would

be outside the scope of his underlying charge with the Illinois Department of Human Rights.

(Cf. id. ¶ 9 alleging a claim for Title VII national origin discrimination) & (id. ¶ 12 alleging that

Defendant failed to reasonably accommodate the plaintiff’s disability and failed to stop

harassment). Accordingly, to the extent that Plaintiff’s Complaint claims other than for national

origin discrimination – which is unclear within the four corners of the Complaint – Plaintiff’s

claims would be subject to dismissal on this additional basis. See, e.g., Buchanan v. Cook Cty.,

2013 WL 2637875, at *1 (N.D. Ill. 2013) (Pallmeyer, J.) (dismissing Title VII claim for race

discrimination as beyond the scope of plaintiff’s charge of discrimination filed with the EEOC)

(citing Cheek v. Western and Southern Life Ins. Co., 31 F.3d 497, 500 (7th Cir. 1994) (“As a

general rule, a Title VII plaintiff cannot bring claims in a lawsuit that were not included in her

EEOC charge” which is a “condition precedent with which Title VII plaintiffs must comply”

because “allowing a complaint to encompass allegations outside the ambit of the predicate

EEOC charge would frustrate the EEOC’s investigatory and conciliatory role, as well as deprive

the charge party of notice of the charge.”)). This inconsistency further underscores that

Plaintiff’s Complaint fails plausibly state a claim for relief, fails to provide Defendant with

sufficient notice of his claim, and that it would likely be impossible for Defendant to answer the

Complaint.




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                                          CONCLUSION

         While Plaintiff’s pro se Complaint should be held to a liberal pleading standard,

Plaintiff’s Complaint should be dismissed where Plaintiff has created a significant delay in

through his failure to timely serve the Complaint and has failed to state a claim upon which

relief can be granted which warrants dismissal. Accordingly, Defendant respectfully requests

that the Court enter an order dismissing Plaintiff’s Complaint.

DATED: June 25, 2019                              Respectfully submitted,

                                                  HC JOLIET, LLC


                                                  By /s/ Thomas E. Ahlering
                                                      One of Its Attorneys

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                                 CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on June 25, 2019, he caused the foregoing

to be filed with the Clerk of the Court via the Court’s electronic case filing/ecf system, which

will cause delivery of the foregoing to Plaintiff, and also sent a copy of the foregoing by U.S.

Mail, First Class to the address below:

                                      Rogelio Dizon
                                      17248 71st St Ct., #8
                                      Tinley Park, IL 60477

                                                  /s/Thomas E. Ahlering




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